 Case 2:15-cv-01673-JCM-GWF Document 20 Filed 02/04/16 Page 1 of 9




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 2
 3
 4
 5
6                                       [JNITED STATES DISTRICT COURT
                                             DISTRICT OF NEVADA

 8
  AMA MCJLTIMEDIA,LLC,a Nevada                               ~         C~# ' 2=15-cv-OI673-JCM-GWF
9 limited liability company                                  ~
                                                                       VERIFIED PETITIQN FOR
10                       Plaintiffs},                    )             PERNIISSIUN TO PRACTICE
                                                                       IN THIS CASE ONLY BY
11             vs.                                       )             ATTORNEY NUT ADNIITTED
     BORJAN SOLUTIONS,S.L. d/b/a SEitVtPORNO,            ~             TO THE BAR OF THIS COURT
12   a Spanish com}~eny; and BORlAN MERA                               AND DESIGNATION OF
     URRESTARAZU,an individual                           )             LOCAL CUUN5EL
13
                         Defendant{s).                   )
14                                                                     FILING FEE IS $250.00

IS
16              MATTI-IEW SHAYEFAR                       Petitioner, respectfully represents to the Court:
                      name a pehhoner)
17
               1.        ThatPetitioner is an attorney at law and a member ofthe law firm of
18
         BOSTON LAW GROUP,P.C.
14                                                       (firm name)

20     With offices at     8zS seacon stroat, suite 20
                                                                 (street address)
21                       Newton Centre                               Messachusets                         02459
22                          clty)                                             (state)                  (zcp co e
         (617)928-I80$                                           matt~bostonlawgroup.com
23
         area co e + to ep one num er)                               (Email address)
24
               2.        That Petitioner has been retained personalty or as a member ofthe law firm by
25
       Borian solutions, s.[.., and Boris Mere Urrescarazu          to provide legal representation in connect~an with
26                     [client(s)]

27     the above-entitled case now pending before this Court.

28                                                                                                           R~~. tiffs
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 1          3.      Thatsince        11/30/2012          petitioner has bees and presently is a
                                          ate
 2   member in good staadiag ofthe bar ofthe highest Court ofthe State of ~~sachusects
                                                                                   (state).
 3   where Petitioner regularly practices law. Petitioner shall attach a certificate from the state bar or
 4   from the clerk of the supreme court or highest admitting court ofeach state, territory, or insular
 5   possession ofthe United States in which the applicant has been admitted to practice law certifying
6    the applicant's membership therein is:in good standing.
 7          4.      That Petitioner was admitted to practice before the following United States District
 8   Courts, United States Circuit Courts ofAppeal,the Supreme Court of the United States and Courts

 9   of other States on the dates indicated for each,and that Petitioner is presently a member in good
10   standing ofthe bars of said Courts.
11                          Court                             Date Admitted             Bar Number

12                        California                            06/03/2013                  289685

13                      Ninth Circuit                           12/14/2012                   N/A

14                         D. Mass                               1/22/2013                   N/A

IS                        C.D. Cai.                              3/17/2014                   N/A

16
17
18
19
            5.      That there are or have been no disciplinary proceedings instituted against petitioner,.
20
     nor any saspensioa ofany license, certificate or privilege tQ appear before any judicial, regulatory
21
     or administrative body, or any resignation or termination in order to avoid disciplinary or
22
     disbarment proceedings,except as described in detail below:
23
24
25
26
27
28                                                    2                                            Rev. l/15
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 1           6.     That Petitioaer has sever been denied admission to the State Baz of Nevada (Give
2    particulars ifever denied admission):
3     one.
4
5
6            7.     T1~atPetitioner is a member of good standing in the following Bar Associations.

7     one.
8
9
is           8.     Petitioner hes filed applications) to appear as counsel under Local Rule IA 10-2

11   during the past three(3}years in the following matters: (State "none" if no applications.)

12   Date of Application            Cause                       Title of Court            Was Application
                                                             Administrative Body            Granted or
13                                                              ar Arbitrator                   Depied

14         O1I04/2013           2:2012-cv-01057                  D. Nevada                     Granted

15
16
17
18
19                    (If necessary, please attach a statement ofadditional applications)

20           9.     Petitioner consents to the jurisdiction ofthe courts end disciplinary boards ofthe

21   State of Nevada with respect to the law of this state governing the conduct ofattorneys to the same

22   extent as a member ofthe State Bar o€Nevada.

23           10.    Petitioner agrees to comply with the standards of professional conduct required of

24   the members ofthe baz ofthis court.
25           11.    Petitioner has disclosed in writing to the client that the applicant is noE admitted to

26   practice in this jurisdiction and that the client has consented to such representation.

27

28
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 1          That Petitioner respectfully prays that Petitioner be admitted to practice before this Court
2    FOR THE PURPOSES OF'THIS CASE ONLY.
3
4                                                                               'bone s si     e
     STATE OF  California                     }
5             ~/~~                            )
     COUNTY OF
6                      V
7           f~                  ~E'~C(Yd~ Petitioner, being first duly sworn, deposes as            ays:

8    That the foregoing statements'are true.
9
                                                                              etition    tgnature
10   Subscribed and sworn to before me this
11
                  day of
12
13     sc' Ar;ACN~n ~..7aR r        F         t~Ic,~
                        otary           or    r o       ourt
14
15
16                   DESIGNATION OF RESIDENT ATTORNEY ADMITTED TO
                      THE BAR OF THIS COURT AND CONSENT THERETO.
17
            Pursuant to the requirements ofthe Local Rules ofPractice for this Court,the Petitioner
18
     believes it to be in the best interests ofthe clicnt(s)to designate ,tames p. Bovle           ,
19                                                                          (name oflocal counsel)
     Attorney at Law, member ofthe State of Nevada and previously admitted'topractice before the
20
     above-e~itled Court as associate resident counsel in this action. The address and email address of
21
     said designated Nevada counsel is:
22
23          400 South 4th Street, 3rd Floor
                                                       (street address)
24                                                                 Nevada
      Las Ve as                          _                                                           89101
25                       city)                                                (state)               (ztp c e)
26      (702)791-0308                                     jboyleQnevadafrim.com
     (area cc e + to ep one num er ' '                                    a      ss)
27
28                                                             a                                           u~~. vas
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        1       By this designation the petitioner and under&igned
                                                                      parry(i~s~ aEgiea that this designation constitutes
        2      agreement and authorization for the designated reside
                                                                        nt adnutted counsel to sign stiptzlations
        3      binding on all of us.
        4

        5                  APPQINTMEN7'OF DESIGNATED RESIDENT
                                                                                      NEVADA COUNSEL
        6

        7~            Tl~e undersigned party(ies) appoints)       j~nes D. Boyle
        g'                                                                 (name of local counsel)
               his/her/their Desi~ated Resident Nevada Couns
                                                                  el in this case.
      9~

   10

   11                                               (PartY~s s1     lure]
                                                     Borjan 5oluticans S.L.
   12                                               (type or pant p      name, t►t e)
                                                                _~
  13
                                                    (party s sign ~urre)
  14

  15                                                ~3orjan Mera Urresiarazu
                                                   (type ar print party name, title)
  16
  17                                    CONSENT OF llESIGNEE
                     The undersi~neci hereb}~ eflnsen[s to serve as associate reside
  18                                                                                    nt Nevada counsel in this case.

 l9

 20                                                Design ed Resi e           evada Counsel's signature
 21                                                    08384                     jboyfe(uncvadafirm.com
                                                   Bar i~tunber                      Email address
22

23
             APPROVED:
24
             Dated: this        day of                      ,20,
25

26
                    D S RTES ISTRIC'i' JUDGE
27

28 I~
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CALIFORNIA JURA7 WITH AF~IANT STATEMENT                                                 GOVERNMENT CODE §8202

  See Attached Document(Notary to cross out lines 1~ below)
  See Statement Below (Lines 1-6 to be completed only by document signer[s], not Notary)

                                                                          ..            ~-~,~~




        Slgnatu►~ ofDocument Signer No. 1                           Signature of Document Signer No. 2 ~f any)


  A notary public or other officer completing this certificate verifies only the Identity of the individual who signed the
  document to which this certificate i5 attached, and.not the t~uthtulness, accuracy, or validity of that document.

State of Cafifomia                                            Subscribed and sworn to {or aff'irme~ before me
County of     Los Angeles                                                      nu
                                                              on this      ~'       day of     FcR.             , 2p~
                                                              by          Date                   Month             Year

                                                              ~~) ~,ai~rN~u saA r EFa a

                                                            ..(and (2)                                                       ),
                       JO ATHAN UI                                                    Name~ofSlgne
                   Camm'ittlon ~ 2x70873
                  Nb1~ry Pu~lh • Cdllor~da   z
                                                             Proved to me on the sis of satisfactory evidence
                   San fnncl~co County '
                   Comm.Px ras dun B tot6                  ' to be the person    who appeared before me.


                                                              Signature                         ~'
                                                                                      gnature of Notary Public


                            Seal
               Place Notary Seal Above
                                              OPTIONAL
  Though this section is optional, complefing this informailon can deter alteration of the document ar
                   fraudulent'reattachment of this form'tn an unintended document,
Description of Attached Document
Title or Type of Document: ~E+~FSC,ar=o,u ~a c.,.,~ t                               Document Date: w+.•~F                     _
Number of Pages: S            SEgner(s) Other Than Named Above:                         ~~t~

~Y1014 National Notary Associa~on ~ www.NationalNotary.org • 1-800-US NOTARY (1-800-878-fi82~                  Item #5910
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                                            /~W., ,~. ~~
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                                            "~~_~




                    ~z~~xx~~e C~aixx~ .a~ C~~ZY~o~xx~t~
                                    FRANK A. McGUIRE
                          Cor~rt Administrator and Clerk of the Supreme Court




       CERTIFICATE OF THE CLERK OF THE SUPREME COURT

                                             OF THE

                             STATE OF CALIFORNIA


                               MATTHEW SHAYEFAR

I, FRANK A. McGUIRE, Clerk ofthe Supreme Court ofthe State ofCalifornia, do hereby
certify that MATTHEW SHAYEFAR, #289685, was on the 3rd day of June, 2013, duly
admitted to practice as an attorney and counselor at law in all the courts of this state,
and is now listed on the Roll of Attorneys as a member of the bar of this state in good
standing.




                                               Witness my hand and the seal ofthe court
                                               on the 28th day ofDecember, 201S.


                                              FRANK A. McGUIRE
                                              Clerk ofthe Supreme Court


                                              By:        ''~'
                                                        J. Hunter, Senior Deputy Clerk
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                                    C`~l~E C~ommnnftrPttl#~ ~f ~ax8$~t~~~xSE##s
                           W               SUPREME .JUDICIAL COURT
      A        ~            a                       FOR SUFFOLK COUNTY

                       ~`                        JOHN ADAMS COURTHOUSE
                   °~ y`                   ONE PEMBERTON SQUARE, SUITE 1 3OO

                                          BOSTON, MASSACHUSETTS OZ ~ OB'~ -IO7               CASE INFORMATION (617) 557-1100

     MAURA S. DOYLE                                 WW W.SJCCOU NTYCLERK.COM
                                                                                                     FACSIMILE (8171 857-1117

            CLERK                                                                           ATTORNEY SERVICES (6171 557-1050
                                                     December 297 2015                               FACSIMIiE ~617~ 557-1055


          Matthew Shayefar
          Boston Law Group
          825 Beacon St., Ste.20
          Newton, MA 02459


          IN RE:                CERTIFICATE OF ADMISSION AND GOOD STANDING
          Matthew Shayefar:

                     Enclosed please find the Certificate of admission and good standing which you have

          recently requested from this office. This certificate attests to your date of admission and good

          standing at the Bar of the Commonwealth of Massachusetts.

                     If you have any questions or if this office can be offurther assistance, please do not

          hesitate to contact us at 617-557-1050 or visit our web site at www.sjccountyclerk.com.


                                                      Very truly yours.




                                                      MAURA . DO
                                                      Clerk
                                                      Supreme Judicial Court
          MSD/ct
          CL Received: December 29, 2015
          enclosure




~~
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                     COMMONWEALTH OF MASSACHUSETTS
SUFFOLK,SS.




           BE IT REMEMBERED,that at the Supreme Judicial Court holden at Boston

within and for said County of Suffolk, on the                                                                 t~i~irEiet~

day of                   November                                 A.D.         2012 ,said Court being the highest
Court of Record in said Commonwealth:


                                                     Matthew s~iaye~ar

being found duly qualified in that behalf, and having taken and subscribed
the oaths required by law, was admitted to practice as an Attorney, and, by
virtue thereof, as a Counsellor at Law, in any of the Courts of the said
Commonwealth: that said Attorney is at present a member of the Bar, and
is in good standing according to the records of this Court*.


             In testimony whereof, I have hereunto set my hand and affixed the

             seal of said Court, this                                       twenty-ninth day of                                            December

                                ''le year of our Lord two thousand. anc~.                                                         teen.




                                                                                                          MAU                   S. DOYLE,Clerk



                                                                                                                      court, are not covered 6y this ceru6cetia~.
 ~ RecacLs of private discipluic, if arry, such av a priv~e reprm~and imposed by the Board ofBar O~nseers ar by any

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